179 F.3d 1078,Jerry X. ELLIS, Plaintiff-Appellant,Michael D. Walker; Eddie Gray, Jr.; Shahid Taqwa, also knownas John Smith, Plaintiffs,v.Larry B. NORRIS, Director, Arkansas Department ofCorrection; R. Toney, Arkansas Department of Correction;Mrs. McQuilliams, Arkansas Department of Correction; L.Inmon, Arkansas Department of Correction; Mrs. Day, ArkansasDepartment of Correction; C.A. Collins, Arkansas Departmentof Correction; D. Guntharp Arkansas Department ofCorrection; B. Butcher, Captain, Arkansas Department ofCorrection; V.R. Robertson, Arkansas Department ofCorrection; W.J. Straughn, Captain, Arkansas Department ofCorrection; J.L. Williams, Captain, Arkansas Department ofCorrection; C.A. Proctor, Lt., Arkansas Department ofCorrection; J.W. VIA, Lt., Arkansas Department ofCorrection; R. Bradley, Sgt., Arkansas Department ofCorrection; R. Walz, Sgt., Arkansas Department ofCorrection; J. Boyd, CO-1, Arkansas Department ofCorrection; R. Shillings, CO-1, Arkansas Department ofCorrection; A. Singleton, CO-1, Arkansas Department ofCorrection; J. Henderson, CO-1, Arkansas Department ofCorrection; J. Lawson, CO-1, Arkansas Department ofCorrection; R. Neal, CO-1, Arkansas Department ofCorrection; K. King, CO-1, Arkansas Department ofCorrection; C. Harris, CO-1, Arkansas Department ofCorrection; R. Tisdale, CO-1, Arkansas Department ofCorrection; J. Thompson, CO-1, Arkansas Department ofCorrection; L. Smith, CO-1, Arkansas Department ofCorrection; T. Madden, CO-1, Arkansas Department ofCorrection; H. Rainbolt, Arkansas Department of Correction;C. Patterson, CO-1, Arkansas Department of Correction; N.Cartwright, CO-1, Arkansas Department of Correction; T.Turner, CO-1, Arkansas Department of Correction; D. Daniels,CO-1, Arkansas Department of Correction; M. Leeper, LPN,Arkansas Department of Correction; J. Varpen, LPN, ArkansasDepartment of Correction; C.L. Cobb, Lt., ArkansasDepartment of Correction; D. Curl, Sgt., Arkansas Departmentof Correction; D. Boultinghouse, Sgt ., Arkansas Departmentof Correction; A. Burnett, Sgt., Arkansas Department ofCorrection; C. Harris, Sgt., Arkansas Department ofCorrection; C. Beard, CO-1, Arkansas Department ofCorrection; W. Downs, CO-1, Arkansas Department ofCorrection; R. Griffin, CO-1, Arkansas Department ofCorrection; G. Graves, CO-1, Arkansas Department ofCorrection; K. Mallett, CO-1, Arkansas Department ofCorrection; G. Moore, CO-1, Arkansas Department ofCorrection; R. Massey, CO-1, Arkansas Department ofCorrection; K. Tillman, CO-1, Arkansas Department ofCorrection; C. McDonald, CO-1, Arkansas Department ofCorrection; R. Mosby, CO-1, Arkansas Department ofCorrection; K. Carroll, CO-1, Arkansas Department ofCorrection; D. Threlkeld, CO-1, Arkansas Department ofCorrection; J. Harroway, CO-1, Arkansas Department ofCorrection; A. King, CO-1, Arkansas Department ofCorrection; T. Webb, CO-1, Arkansas Department ofCorrection; D. Williams, LPN, Arkansas Department ofCorrection; Ducote, LPN, Arkansas Department of Correction,Defendants-Appellees.
    No. 97-1390.
    United States Court of Appeals, Eighth Circuit.
    Submitted: Jan. 12, 1999.Filed: June 1, 1999.
    
      On Appeal from the United States District Court for the Eastern District of Arkansas.
      BEFORE: BOWMAN, Chief Judge,1 RICHARD S. ARNOLD and MORRIS SHEPPARD ARNOLD, Circuit Judges.
    
    
      1
      ARNOLD, Circuit J.
    
    
      2
      Jerry Ellis appeals from the District Court's2 dismissal of his 42 U.S.C. § 1983 complaint.  Mr. Ellis brought this action contending various conditions at the Arkansas Department of Correction's Varner Unit violated the Eighth Amendment's prohibition against cruel and unusual punishment.  Construing the allegations liberally, see Haines v. Kerner, 404 U.S. 519, 520 (1972) (per curiam), we conclude the complaint was properly dismissed because it failed to state a claim, see 28 U.S.C. §§ 1915(e)(2)(B)(ii), 1915A(b)(1).
    
    
      3
      Despite having been ordered to amend his complaint to clarify how more than fifty defendants upon whom he sought service had violated his constitutional rights, Mr. Ellis failed to allege facts supporting any individual defendant's personal involvement or responsibility for the violations.  See Martin v. Sargent, 780 F.2d 1334, 1337-38 (8th Cir.1985); see also Tatum v. Iowa, 822 F .2d 808, 810 (8th Cir.1987) (per curiam).  Mr. Ellis, who was no longer at the Varner Unit and sought only damages, also failed to allege how such conditions as insufficient security at Varner had caused him injury, see Smith v. Arkansas Dep't of Correction, 103 F.3d 637, 643 (8th Cir.1996); failed to allege sufficient facts to support other alleged violations, such as inadequate medical care, see Martin, 780 F.2d at 1337; and failed to allege that it was he, rather than other prisoners, who was subjected to certain allegedly unconstitutional conditions, see id.
    
    
      4
      Accordingly, we affirm, amending the District Court's judgment to reflect its intention to dismiss the complaint without prejudice.
    
    
      5
      We wish to express our appreciation to court-appointed counsel for appellant, who has briefed and argued this case pro bono.  Counsel's efforts on behalf of his client have been a great help to us.
    
    
      
        1
         The Hon.  Pasco M. Bowman stepped down as Chief Judge of this Court on April 23, 1999
      
      
        2
         The Hon.  Elsijane Trimble Roy, United States District Judge for the Eastern and Western Districts of Arkansas, adopting the report and recommendation of the Hon.  H. David Young, United States Magistrate Judge for the Eastern District of Arkansas
      
    
    